            Case 1:18-cv-02002-TJK Document 15 Filed 11/16/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JOSEPH MISCHLER,

               Plaintiff,

       v.                                             Civil Action No. 18-2002 (TJK)

NOVAGRAAF GROUP BV,

               Defendant.


                                    SCHEDULING ORDER

       Pursuant to the Initial Scheduling Conference held on November 15, 2018, and the

parties’ Local Civil Rule 16.3 Meet and Confer Report (ECF No. 10), the Court hereby

ORDERS that the following schedule shall govern further proceedings:

       1.      Each party shall serve its Rule 26(a)(1) initial disclosures by December 1, 2018;

       2.      The parties shall have until March 1, 2019, to join additional parties;

       3.      Fact discovery shall close on May 31, 2019;

       4.      A status conference is scheduled for June 4, 2019, at 9:30 a.m. in Courtroom 11;

       5.      No discovery motions (other than motions to extend time) may be filed without

               leave of court. In the event that a discovery dispute arises, the parties shall make

               a good faith effort to resolve or narrow the areas of disagreement. If the parties

               are unable to resolve the discovery dispute, the parties shall jointly call chambers,

               at which time the Court will either rule on the issue or determine the manner in

               which it is to be handled; and
           Case 1:18-cv-02002-TJK Document 15 Filed 11/16/18 Page 2 of 2



      6.      Parties may not extend any deadline by stipulation; instead, parties shall seek

              extensions by motion. Consent motions are generally looked upon with favor by

              the Court.



      SO ORDERED.


                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: November 16, 2018




                                               2
